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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF WYOMING



  The Wrongful Death Estate of J.W.,
  a deceased minor child,
  by and through Brandon T. Wegner, as
  Wrongful Death Representative,

                 Plaintiff,

          vs.                                      Civil Action No. nruiqi-^
  FCA US LLC,

                 Defendant.




                                 PLAINTIFF'S COMPLAINT




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   COMES NOW, Brandon Wegner (hereinafter referred to as "Plaintiff"), and respectfully
files this Complaint against FCA US LLC (hereinafter referred to as "Defendant"), and in
support hereof would state andshow the following:

                                            L Parties


   1.    Plaintiff is the surviving, step-father of J.W., a deceased minor child. Plaintiff resides

in and is a citizen of Sheridan, Wyoming.

   2.    Plaintiff is the duly appointed and lawfully acting Wrongful Death Representative of

the Estate of J.W., having been appointed by Wyoming Fourth Judicial District Court Judge John

G. Fenn, on March 30,2016.

   3.    Defendant, FCA US, LLC is an entity formerly known as Chrysler Group LLC,

incorporated in Delaware, v^th its principal place of business in Auburn Hills, Michigan.
Defendant's sole member is FCA North American Holdings, LLC, an entity incorporated in

Delaware with its principal place of business in New York. FCA North America Holding LLC's

sole member is Fiat Chrysler Automobiles N.V., a publicly traded company incorporated in the
Netherlands with it principal place of business in London. Service of process upon this

Defendant may be had by serving its registered agent for service, CT Corporation System, at

1908 Thomes Avenue, Cheyenne, WY 82001.

                                         11. Jurisdiction


    4.   Plaintiff restates andrealleges the above paragraphs 1 - 3 as if fully set forth herein.

    5.   This Court has jurisdiction over the lawsuit under the provisions of 28 U.S.C. Section

1332.


    6.   The parties to this lawsuit are citizens of different states, and the matter in controversy

exceeds the sum or value of $75,000.00, exclusive of interest and costs.

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                                                III. Facts



   7.       Plaintiff restates and realleges the above paragraphs 4 - 6 as if fully set forth herein.

   8.       On or about November 24, 2015, J.W., a minor child, was riding in a 2004 Jeep Liberty

(VIN# 1J4GL48K64W223272), traveling eastbound on Interstate 90 in Sheridan County,
Wyoming. J.W., a deceased minor, was a passenger.

   9.       The subject vehicle was designedby Defendant.

   10. The subjectvehiclewas manufactured by Defendant.

   11. Thesubject vehicle was also assembled and tested by Defendant.

   12. While traveling, control of the subject vehicle was lost, causing the vehicle to roll and

overturn.


   13. The forward-facing child seat was properly secured to the vehicle using the vehicle's

built-in LATCH system and the child seat's tether strap.

    14. However, despite being properly seated and properly wearing the available seat beh,

J.W. sustained fatal injuries when the vehicle failed to protect him because it violated several
crashworthiness principles.

    15. There are five (5) recognized crashworthiness principles in the automobile

industry/throughout the world. They are as follows:

            1.    Maintain survival space;

            2.    Provide proper restraintthroughout the entire accident;

            3.    Prevent ejection;

            4.    Distribute and channel energy; and

            5.    Prevent post-crash fires.




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   16. When the National Highway Traffic Safety Administration (NHTSA) created the

Federal Motor Vehicle Safety Standard (FMVSS) in the late 1960s, the preamble to the safety

standards included a crashworthiness definition similar to that used above, "that the public is

protected against unreasonable risk ofcrashes occurring as a result ofthe design, construction, or
performance ofmotor vehicles and is also protected against unreasonable risk ofdeath or injury
in the event crashes do occur."

   17. The National Transportation Safety Board (NTSB) has also stated that, "Vehicle
crashworthiness refers to the capacity of a vehicle to protect its occupants from crash forces. This

protection—^which is achieved, in part, by vehicle structure—includes maintaining a survival
space around the occupant, retaining the occupant within that space, and reducing the forces
applied to the occupant."

    18. Lee lacocca, former President of Ford Motor Company stated, while President and

CEO of Chrysler, that"Every American has the right to a safe vehicle."

                             IV. Cause(s) ofAction as to Defendant

    19. Plaintiff restates and realleges the above paragraphs 7 - 18 as if fully set forth herein.

    20. It was entirely foreseeable to, and well-known by Defendant that accidents and

incidents involving itsvehicles, such as occurred herein, would onoccasion take place during the

normal and ordinary use of said vehicle.

    21. The fatal injuries complained of occurred because the vehicle in question was not

reasonably crashworthy, and was not reasonably fit for unintended, but clearly foreseeable,

accidents. The vehicle in question was unreasonably dangerous in the event it should be involved

in an incident such as occurred herein.




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   22. Defendant, either alone or in conjunction with some other individual(s) and/or
entity(ies), designed, manufactured, marketed, assembled, and/or tested said vehicle inquestion.
   23. As detailed herein, the vehicle contains and/or Defendant has committed either design,

manufacturing, marketing, assembling, and/or testing defects.

   24.   Defendant knew or should have known of safer alternative designs which would have

prevented the injuries complained of herein.

   25. In addition to the foregoing. Defendant, either alone or in conjunction with some other

individual(s) and/or entity(ies), designed, manufactured, marketed, assembled, and/or tested said

vehicle in question to be unreasonably dangerous and defective within the meaning of Section

402(A) Restatement (Second) Torts, inthat the vehicle was unreasonably dangerous as designed,
manufactured, assembled, marketed, and/or tested because Defendant knew and/or should have

known of the following, non-exhaustive list of defects:

         a.    The rear seat used a split 70/30 seat configuration that incorporated a

               child seat LATCH but the seat itself lacked an inboard latch which

               rendered the seat weak, structurally unsound, and/or incapable of

               withstanding loads from any type of accident event;

         b.    The rear seat structure failed to utilize any type of inboard latch

               assembly that would prevent the seat from twisting or deforming

               counterclockwise;

         c.    The rear seat structure lacked inboard structural integrity;

         d.    The rear seat structure lacked dual locks like the front seats contained so

               that the inboard and outboard seat attachments had equal strength;

         e.    The rear seat failed to provide proper restraint;



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        f.    The rear seat structure failure changed the seatbelt geometry;

        g.    The rear seat structure failure overloaded the child seat, seatbelt
              webbing;

        h.    The rear seat structure failure prevented the child seat from meeting its

              designed restraint utility;

        i.    The rear seat structure provided no utility or functionality once the

              inboard portionof the seat rotated counterclockwise;

        j.    The rear seat structure failure rendered the other safety systems inside
              the vehicle useless;

        k.    The seat structure failure rendered the child seat safety systems useless;

        1.    The vehicle failed to contain ejection mitigation glass like many other

              platforms used in the front and/or front and rear seating positions;

         m.   The vehicle failed to contain non-tempered glass like many other

              platforms used in the front and/or front and rear seating positions;

         n.   The vehicle failed to contain side airbags that function as an ejection

              mitigation system;

         o.   The vehicle violated principles of crashworthiness;

         p.   The vehicle failed to provide equal protection to the rear seated

              occupants as it did the front seatedoccupants;

         q.   The vehicle was not properly tested using restrained ATD's in rollover

              testing scenarios;

         r.   The vehicle was not subjected to FEM, FEA, finite element modeling

               where different seat configurations, different seat restraints, different


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               glass material, different seat structural material, different seat

               latch/assemblies evaluated;

         s.    The vehicle was not subjected to LSDYNA and/or MADYMO analysis

               where different seat configurations, different seat restrains, different

               glass material, different seat structural material, different seat

               latch/assemblies was evaluated;

         t.    The vehicle was not subjected to simulated rollover events to evaluate

               alternative seat and/or glass designs;

         u.    The vehicle was not subjected to rigorous engineering analysis; and/or

         V.    The defects and negligence were the direct, producing, substantial factor

               and/or proximate cause of the fatal ejectionand damages.

   26. Defendant was also negligent in the design, manufacture, assembly, marketing, and/or

testing of the vehicle in question.

   27. In designing a vehicle, efforts should be made by manufacturers to identify potential

risks, hazards, and/or dangers that can lead to serious injury or death.

    28. Once potential risks, hazards, and/or dangers are identified, then the potential risks,

hazards, or dangers should be eliminated if possible.

    29. If the potential risks, hazards, and/or dangers can't be eliminated, then they should be

guarded against.

    30. If the potential risks, hazards, and/or dangers can't be eliminated or guarded against,

they should at least be warned about.

    31. A company that does not conduct a proper engineering analysis that would help it to

identify potential risk, hazards, and/ordangers that could seriously injure someone is negligent.


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   32. Most (ifnot all) engineering associations in the United States (and around the worid)
have a code of ethics. The number 1 fundamental canon of ethics for almost all engineers is to

"hold paramount the safety, health, and welfare of the public." Accordingly, since paramount
means "superior to all others", all vehicle engineers have to hold the safety, health, and welfare
ofthe public astheir highest considerations when they design vehicles.

   33. Based upon information and/or belief, Defendant either used or knew about advanced
safety features used in Europe, Australia, Japan, or some other country and chose not to offer
those safety features to American consumers.

   34. Defendant's occupant protection philosophy and design philosophy are utilized in

variousmodel vehicles, includingones sold overseas in other markets.

    35. When Defendant designed the subject vehicle, it did not reinvent the wheel. Defendant

used an enormous amount of human capital which had been acquired from numerous different

engineers which had worked on many prior vehicles. This knowledge would have been utilized
in different aspects of the various designs of the subject vehicle.

    36. Defendant is currently in exclusive possession and control of all the technical materials

and other documents regarding the design, manufacture, and testing of the vehicle in question.

Defendant is also in possession of what, if any, engineering analysis it performed.

    37. However, it is expected thatafter allof these materials areproduced in discovery and/or

after Defendant's employees and corporate representatives have been deposed, additional

allegations may come to light.

    38. Lastly, the materials from other models, years, and countries will provide evidence

regarding what Defendant knew, when it knew it, and about what was utilized or not utilized as

well as the reasons why.



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       39. The foregoing acts and/or omissions, defects, and/or negligence of Defendant were the

producing, direct, proximate, and/or legal cause of the fatality and Plaintiff's damages.

                                         V. Damages to Plaintiff

       40.   Plaintiff restates and realleges the above paragraphs 19 - 39 as if fully set forth herein.

       41.   As a result of the acts and/or omissions of Defendant, Plaintiff has suffered past and

future; loss of care, maintenance, support, services, advice, counsel, reasonable contributions of

pecuniary value, loss of compginionship and society, loss of consortium, and mental anguish as a

result of the death of J.W.


       42.   As a result of the acts and/or omissions of Defendant, Plaintiff has become obligated to

pay reasonable and necessary funeral, and burial expenses as a result of the fatal injuries to J.W.

       43. The above and foregoing acts and/or omissions of the Defendant, resulting in the fatal

injuries to J.W. have caused actual damages to Plaintiff in excess of the minimum jurisdictional

limits of this Court.


                                                VI. Prayer


       44.   For the reasons presented herein. Plaintiff prays that Defendant be cited to appear and

answer, and that upon a final trial of this cause. Plaintiff recovers judgment against Defendant

for:


             a.    actual damages;

             b.    prejudgment and post-judgment interest beginning November 24, 2015;

             c.    costs of suit; and

             d.    all other relief, general and special, to which Plaintiff is entitled to at

                   law and/or in equity, and/or which the Court deems proper.

       45. Plaintiffs demand a trial by jury.

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                                          Respectfully submitted,




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